
43 So.3d 841 (2010)
Sherry VANLANDINGHAM, as Personal Representative of the Estate of Lawrence Taylor, Appellant,
v.
Wilma DESAK, as Personal Representative of the Estate of Helen Desak, Appellee.
No. 1D10-3264.
District Court of Appeal of Florida, First District.
August 31, 2010.
Jack A. Harnett, Quincy, for Appellant.
No appearance for Appellee.
PER CURIAM.
Upon consideration of the appellant's response to the Court's order of July 14, 2010, the Court has determined that because the Order Denying Motion to Dismiss *842 is not an order that finally determines a right or obligation of an interested person in a probate matter, the Court lacks jurisdiction over this appeal. Fla. R.App. P. 9.110(a)(2). Accordingly, the appeal is hereby DISMISSED.
DAVIS, BENTON, and CLARK, JJ., concur.
